Case 3:08-cr-02642-JAH   Document 168   Filed 04/20/11   PageID.484   Page 1 of 6
Case 3:08-cr-02642-JAH   Document 168   Filed 04/20/11   PageID.485   Page 2 of 6
Case 3:08-cr-02642-JAH   Document 168   Filed 04/20/11   PageID.486   Page 3 of 6
Case 3:08-cr-02642-JAH   Document 168   Filed 04/20/11   PageID.487   Page 4 of 6
Case 3:08-cr-02642-JAH   Document 168   Filed 04/20/11   PageID.488   Page 5 of 6
Case 3:08-cr-02642-JAH   Document 168   Filed 04/20/11   PageID.489   Page 6 of 6
